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 1   L. BRUCE LOCKE (#177787)
     Moss & Locke
 2   555 University Avenue, Suite 150
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     CEDRIC ROBERSON
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                  No. CR. S-10-211 FCD
                                         )
 9                     Plaintiff,        )
                                         )                  STIPULATION AND ORDER TO
10                                       )                  CONTINUE STATUS CONFERENCE
           v.                            )                  FROM NOVEMBER 1, 2010 TO
11                                       )                  JANUARY 10, 2011 AT 10:00 A.M.
     CEDRIC ROBERSON, et al.,            )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the following 13 defendants: Terry
15   Roberson, Cedric Roberson, Angelique Marshall, Eva Green, Aisha Stephens, Angenette Brown,
16   Vennie Abram, Volaney Harris, Felecia Edwards, Melissa Geddes, Gregory Ross, Kevin Wallace,
17   and Waiki Pryor, by and through their undersigned defense counsel and the United States of
18   America by and through its counsel, Assistant U.S. Attorney Jared Dolan, that the status conference
19   presently set for November 1, 2010 should be continued to January 10, 2011 at 10:00 a.m.
20          The reason for the continuance is that the parties are engaged in reviewing the discovery and
21   discussing resolution of the case without the need for a trial and additional time is needed to
22   accomplish these two tasks. The government is in the process of making plea offers to the various
23   defendants. Accordingly, the time between November 1, 2010 and January 10, 2011 should be
24   excluded from the Speedy Trial calculation pursuant to Title 18, United States Code, Section
25   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends
26   of justice served by granting this continuance outweigh the best interests of the public and the
27   defendant in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Dolan and other defense counsel have
28   authorized Mr. Locke to sign this pleading for them.
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 1
 2   DATED: October 27, 2010                  /S/ Bruce Locke
                                        BRUCE LOCKE
 3                                      Attorney for Cedric Roberson
 4   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For DOUGLAS J. BEEVERS
 5                                      Attorney for Terry Roberson
 6   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For ERIN JOLENE RADEKIN
 7                                      Attorney for Angelique Marshall
 8   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For OLAF WILLIAM HEDBERG
 9                                      Attorney for Eva Green
10   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For PREETI KAUR BAJWA
11                                      Attorney for Aisha Stephens
12   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For MICHAEL BRADLEY BIGELOW
13                                      Attorney for Anjenette Brown
14   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For SCOTT L. TEDMON
15                                      Attorney for Vennie Abram
16   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For DAVID DELMER FISCHER
17                                      Attorney for Volaney Harris
18   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For HAYES H. GABLE, III
19                                      Attorney for Felecia Edwards
20   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For DINA LEE SANTOS
21                                      Attorney for Melissa Geddes
22   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For MICHAEL E. HANSEN
23                                      Attorney for Gregory Ross
24   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For MICHAEL L. CHASTAINE
25                                      Attorney for Kevin Wallace
26   DATED: October 27, 2010                  /S/ Bruce Locke
                                        For KELLY BABINEAU
27                                      Attorney for Waiki Pryor
28
29

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 1
     DATED: October 27, 2010                  /S/ Bruce Locke
 2                                      For JARED DOLAN
                                        Attorney for the United States
 3
 4
           IT IS SO ORDERED.
 5
 6
 7   DATED: October 27, 2010        _______________________________________
                                    FRANK C. DAMRELL, JR.
 8
                                    UNITED STATES DISTRICT JUDGE
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